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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

 

A. DOE, RESIDENT OF LACKAWANNA :
COUNTY AND M. DOE, RESIDENT OF
LACKAWANNA COUNTY,

CIVIL ACTION LAW
PLAINTIFFS
JURY TRIAL DEMANDED
VS.
CITY OF SCRANTON; CARL
GRAZIANO, CHIEF OF POLICE; DINA
ALBANESI HAMMER; THOMAS
MCDONALD and JOHN/JANE DOE 1-5
NO:

 

DEFENDANTS .
PLAINTIFFS’ COMPLAINT
AND NOW come Plaintiffs, A. Doe and M. Doe, by and through their
attorney, Matthew T. Comerford, Esquire of COMERFORD LAW and aver as

follows:

I. JURISDICTION AND VENUE
l. This action is authorized, initiated, founded upon and arises under the
provisions of Federal Law, particularly the 4° Amendment and 14'* Amendment to
the United States Constitution; Civil Rights Act of 1871, 42 U.S.C. §1983, 1985,

1986 and 1988.
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2. The jurisdiction of this Court is invoked pursuant to the provisions of
28 U.S.C. §1331, §1324 and §1367.
3. The violations of Plaintiffs’ rights as alleged herein were committed

within the Middle District of Pennsylvania.

U. PARTIES

4. Plaintiffs A. Doe and M. Doe are adult citizens and residents of the
Commonwealth of Pennsylvania and at all times material to this cause of action
resided in the Middle District of Pennsylvania. The pseudonyms A. Doe and M.
Doe are being used to protect the identities of Plaintiffs and to protect their interest
in maintaining privacy due to the embarrassing nature of the within averments.

5. Defendant, City of Scranton (hereinafter referred to as “Defendant
City”), is a municipal corporation and governmental entity within the
Commonwealth of Pennsylvania empowered to establish, regulate and control its
police department for enforcement of laws and ordinances within its jurisdiction
and for the purpose of protecting and preserving the persons and property within
the geographical and legal jurisdiction of the Defendant City.

6. Defendant City owns, manages, directs and controls the customs,
policies, practices and employees of the Scranton Police Department.

7. Defendant, Carl Graziano (hereinafter referred to as “Defendant

Graziano”), is the Chief of Police of the City of Scranton Police Department and

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has so served since July 2012. At all relevant times herein, Defendant Graziano
was employed by the Defendant City and was responsible for implementing and
regulating all customs, policies and practices for, as well as the supervision of, the
City of Scranton Police Department and its employees.

8. At all relevant times, Defendant Graziano acted under color of state
law and pursuant to the custom, policy and practice of the Defendant City.
Defendant Graziano is being sued in his individual and official capacity.

9, Defendant, Dina Albanesi Hammer (hereinafter referred to as
“Defendant Hammer”), is an adult individual who, at all times relevant herein, was
serving in her capacity as a sworn officer for the City of Scranton Police
Department, and was entrusted with the power to enforce the laws of the
Commonwealth and the Defendant City. Defendant Hammer was entrusted with
the power to protect the constitutional rights of those she encountered and, at all
times relevant herein, was acting under the authority and color of law, and acted in
concert with one or more of the Defendants with respect to the conduct alleged
herein. Defendant Hammer is being sued in both her individual and official
capacity.

10. Defendant, Thomas McDonald (hereinafter referred to as “Defendant
McDonald”), is an adult individual who, at all times relevant herein, was serving in

his capacity as a sworn officer for the City of Scranton Police Department, and was
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entrusted with the power to enforce the laws of the Commonwealth and the
Defendant City. Defendant McDonald was entrusted with the power to protect the
constitutional rights of those he encountered and, at all times relevant herein, was
acting under the authority and color of law, and acted in concert with one or more
of the Defendants with respect to the conduct alleged herein. Defendant
McDonald is being sued in both his individual and official capacity.

11. Defendants, John/Jane Doe 1-5, whose identities are unknown to
Plaintiffs, are adult individuals who at all times relevant herein were serving in
their capacity as sworn officers in the City of Scranton Police Department and
were entrusted with the power to enforce the laws of the Commonwealth and the
City of Scranton and were entrusted to protect the constitutional rights of those
they encountered and at all times relevant herein were acting under such authority
allotted to them by virtue of their positions as police officers and therefore acting
under color of state law. John/Jane Doe #1-5 are being sued in both their

individual and official capacities.

lit, JURY TRIAL DEMANDED

12. Plaintiffs demand a trial by jury in this matter.
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IV. FACTUAL ALLEGATIONS

A. CONDUCT RELATED TO A. DOE

13. Plaintiff incorporates by reference all previous paragraphs as if same
were set forth herein at length.

14. Plaintiff A. Doe has a date of birth of March 3, 1991.

15. Atall relevant times, Plaintiff A. Doe suffered from mental health
issues as well as drug addiction.

16. Plaintiff A. Doe has had continuous contact with law enforcement
including the Scranton Police Department as a result of her addiction to drugs.
This addiction was known to members of the Scranton Police Department and
more specifically was known by Defendant McDonald who utilized Plaintiff A.
Doe’s addiction to drugs, vulnerability and the prospect of incarceration to his
advantage wherein he would intentionally initiate contact with Plaintiff A. Doe in
order to satisfy his sexual desires.

17. In approximately August 2017, Plaintiff A. Doe was a passenger in
her boyfriend’s vehicle when he was pulled over by Defendant McDonald for a
purported traffic violation. As a result of this traffic stop, Plaintiff A. Doe was
searched by Defendant McDonald. She was found to be in possession of heroin
and was arrested by Defendant McDonald. Following this incident, she began

working as a confidential informant, which included direct supervision by
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Defendant McDonald. Plaintiff A. Doe continued to work as a confidential
informant for the Scranton Police Department and Defendant McDonald on
various occasions through approximately August 2018.

18. During the above time frame, acting under color of state law as an
undercover narcotics officer supervising a citizen informant, Defendant McDonald
would routinely manipulate, coerce and force Plaintiff A. Doe into unwanted
sexual contact which included, but was not limited to, Plaintiff A. Doe being
forced to perform oral sex on Defendant McDonald or face the prospect of
incarceration.

19. The above described acts perpetrated by Defendant McDonald upon
Plaintiff A. Doe caused severe and permanent injury to Plaintiff A. Doe.

20. Prior to any of the acts of harassment, intimidation and sexual contact
that were perpetrated upon Plaintiff A. Doe by Defendant McDonald, the
Defendant City knew or should have known of Defendant McDonald’s misconduct
and failed to investigate Defendant McDonald and/or discipline Defendant
McDonald, allowing him to have continued access to female citizens of
Lackawanna County including Plaintiffs. The Defendant City’s failure to
investigate and/or discipline Defendant McDonald had the effect of sending a

message to Defendant McDonald that he could engage in such acts with impunity.
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21. Defendant McDonald’s sexual victimization of Plaintiff A. Doe was
ongoing from approximately the Spring 2017 through August 2018.
22. The sexual misconduct of Defendant McDonald perpetrated upon
Plaintiff A. Doe constituted a violation of her Constitutional rights which included
her right to bodily integrity.
B. CONDUCT RELATED TO PLAINTIFF M. DOE
23. Plaintiff incorporates by reference all prior paragraphs of Plaintiffs’
Complaint as if the same were set forth herein at length.
24. Plaintiff M. Doe has a date of birth of September 16, 1994.
25.  Atall relevant times, Plaintiff M. Doe suffered from mental health
issues as well as drug addiction.
26. Plaintiff M. Doe has had contact with the Scranton Police Department
since approximately 2014 as a result of her addiction to drugs. This addiction was
known to members of the Scranton Police Department and more specifically was
known by Defendant McDonald who utilized Plaintiff M. Doe’s addiction to drugs,
vulnerability and fear of incarceration to his advantage wherein he would
intentionally initiate contact with Plaintiff M. Doe in order to satisfy his sexual
desires.
27. In approximately 2017, Plaintiff M. Doe was a passenger in a vehicle

that was pulled over by law enforcement. Plaintiff M. Doe was searched, and
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drugs and drug paraphernalia were found. Plaintiff M. Doe agreed to work as an
informant in lieu of criminal prosecution. While working as an informant, Plaintiff
M. Doe was under the supervision of Defendant McDonald.

28. In April of 2018, Plaintiff M. Doe, while working as an informant
under the supervision of Defendant McDonald, made a controlled purchase of
heroin from Plaintiff A. Doe. Plaintiff A. Doe was immediately taken into
custody. During her arrest, Plaintiff A. Doe made allegations that Defendant
McDonald was having sex with numerous confidential informants including
Plaintiff A. Doe in return for leniency with respect to pending or future criminal
charges. As a result of the allegations of Plaintiff A. Doe, Defendant Hammer, a
supervising officer employed by the Scranton Police Department, questioned
Plaintiff M. Doe concerning sexual contact she may have had with Defendant
McDonald. This questioning of Plaintiff M. Doe took place in the presence of the
alleged perpetrator. At that point, Plaintiff M. Doe denied the sexual contact
because she feared retaliation and the prospect of incarceration. Upon information
and belief, no further investigation was done with respect to Defendant
McDonald’s sexual misconduct with female informants. In fact, Defendant
McDonald continued after April 2018 to have sexual relations with both Plaintiffs.

29. From on or about early 2017 through the summer of 2018, acting

under color of state law as an undercover narcotics agent supervising a citizen
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informant, Defendant McDonald would routinely manipulate, coerce and force
Plaintiff M. Doe into unwanted sexual contact which included, but was not limited
to, Plaintiff M. Doe being forced to engage in oral sex and sexual intercourse or
face the prospect of incarceration.

30. The above described acts perpetrated upon Plaintiff M. Doe by
Defendant McDonald has resulted in severe and permanent injury to Plaintiff M.
Doe.

31. The Defendant City knew or should have known of the conduct of
Defendant McDonald prior to the above incidents and failed to investigate and/or
discipline Defendant McDonald sending a message to him that he could engage in
such conduct with impunity.

Vv. PRIOR TORTIOUS CONDUCT OF DEFENDANT CITY

32. Plaintiffs incorporate by reference all preceding paragraphs as though
the same were set forth fully herein.

33. Upon information and belief, other female informants working for the
Scranton Police Department were continuously subjected to sexual abuse and/or
harassment in violation of their civil rights by certain police officers employed by
the Defendant City including Defendant McDonald.

34. Inapproximately 2006, while a police officer with the Scranton Police

Department, Officer Chris Davis would routinely pull over citizens and force them
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to engage in unwanted sexual contact. Officer Davis pled guilty to such conduct as
confirmed by his guilty plea in the Court of Common Pleas of Lackawanna
County. The Defendant City settled a civil suit brought on behalf of one of Mr.
Davis’s victims for an undisclosed amount.

35. Upon information and belief, Scranton Police Officer David Mitchell
engaged in sexual activity with a female informant that predated the sexual
misconduct perpetrated upon Plaintiffs in the instant matter. Although demoted at
the time, Officer Mitchell was allowed to remain employed by the Defendant City.
Recently, Officer Mitchell has been promoted. In effect, this has sent a message to
other employees of the Scranton Police Department, including Defendant
McDonald, that they can engage in such conduct with impunity.

36. Assuch, Defendant City’s notice of a culture of abuse of female
informants predated the sexual victimization of Plaintiffs by Defendant McDonald
and their failure to intervene or take other corrective measures was the cause of
Plaintiffs’ injuries.

COUNT I
FEDERAL CONSTITUTIONAL CLAIMS
A. DOE and M. DOE v. DEFENDANT CITY and
DEFENDANT GRAZIANO and DEFENDANT ALBANESI HAMMER
(Monell Liability 42 U.S.C. §1983)

37. Plaintiffs incorporate by reference all preceding paragraphs as if the

same were set forth fully at length herein.

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38. Upon information and belief, prior to the Constitutional violations
inflicted upon Plaintiffs, Defendant City and its Police Department developed and
maintained policies and customs exhibiting deliberate indifference to the
Constitutional Rights of female residents of Scranton, which was the moving force
and/or cause of the violations of Plaintiffs’ rights.

39. It was the policy, custom and/or practice of Defendant City and its
Police Department to inadequately and improperly investigate citizen complaints
of police misconduct and that acts of misconduct were instead tolerated by
Defendant City and its Police Department.

40. It was the policy, custom and/or practice of Defendant City and its
Police Department to inadequately supervise and train its police officers in
reporting misconduct of other officers employed by Defendant City, including the
misconduct of Defendant McDonald.

41. It was the policy, custom and/or practice of the Defendant City and its
Police Department to fail to provide and/or require appropriate in-service training
or re-training of officers who were known to have engaged in police misconduct.

42. It was the policy, custom and/or practice of the Defendant City to
allow female informants to work on an individual basis with male officers of the
Scranton Police Department without the necessity of having two officers present

when supervising, working with, and/or debriefing the informants.

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43. It was the policy, custom and/or practice of the Defendant City to
have Scranton Police Officers work with female informants who were in active
addiction.

44. It was the policy, custom and/or practice of the Defendant City to fail
to require Scranton Police Officers who were responsible for supervising
informants to formally document each time they had contact with the informant.

45. It was the policy, custom and/or practice of the Defendant City and/or
Scranton Police Department to fail to supervise the contacts between the officers
and the informants, thereby ignoring police misconduct perpetrated upon the
informants.

46. It was the policy, custom and/or practice of the Defendant City to
neglect signing a written contract with the informant which detailed their rights
and responsibilities while working as an informant.

47. It was the policy, custom and/or practice of the Defendant City to fail
to keep individual personnel files on each citizen informant.

48. The actions and/or inactions of Defendant City and Defendant
Graziano caused a policy, custom and/or practice of failing with deliberate
indifference, to supervise, monitor and/or regulate and properly train Scranton City

police officers, under the control of the Defendant City, with respect to their

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obligation to maintain a strictly professional and non-sexual relationship with
female informants.

49. The actions and/or inactions of Defendant City and its Police
Department deprived Plaintiffs of the rights, privileges, and immunities under the
laws and Constitution of the United States in violation of 42 U.S.C. §1983.

50. Asa direct and proximate result of these unlawful and
unconstitutional practices, Plaintiffs suffered severe and permanent injuries.

WHEREFORE, Plaintiffs respectfully request judgment in their favor
pursuant to 42 U.S.C. §1988 with interest, costs, attorney fees, expert fees, punitive
damages except as to the municipality, and other such relief as the Court may

award in an amount in excess of $150,000.

COUNT I
42 U.S.C. §1983
SUBSTANTIVE DUE PROCESS
FAILURE TO INVESTIGATE
FAILURE TO ACT
A.DOE and M. DOE vs. DEFENDANT DINA ALBANESI HAMMER

 

51. Plaintiffs incorporate by reference all preceding paragraphs as if the
same were set forth fully at length herein.

52. At all relevant times, Defendant Hammer was employed as a police
officer by the Defendant City.

53. Defendant Hammer’s acts or omissions were undertaken willfully,

deliberately, and/or with deliberate indifference, and with reckless disregard to the

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safety of the Plaintiffs’ rights to bodily integrity in violation of both the United
States Constitution and the Civil Rights Act.

54. The above acts and/or omissions of Defendant Hammer include the
following:

a. Failing to investigate complaints of sexual misconduct that were
alleged against Defendant McDonald;

b. Failing to notify superior officers and/or detectives in an effort to have
Defendant McDonald’s alleged sexual misconduct properly
investigated;

c. Allowing Defendant McDonald to have continued access to female
informants, including the Plaintiffs, prior to a thorough investigation
into his alleged sexual misconduct; and,

d. Failing to follow any acceptable police protocol when confronted
with an allegation of sexual misconduct of a co-worker.

55. Asa direct and proximate result of these unlawful and
unconstitutional practices, Plaintiffs suffered severe and permanent injuries.

WHEREFORE, Plaintiffs respectfully request judgment in their favor
pursuant to 42 U.S.C. $1988 with interest, costs, attorney fees, expert fees, punitive
damages except as to the municipality, and other such relief as the Court may

award in an amount in excess of $150,000.

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COUNT Il

42 U.S.C. §1983
SUBSTANTIVE DUE PROCESS

FAILURE TO INVESTIGATE
FAILURE TO ACT
A.DOE and M. DOE vs. DEFENDANTS JOHN/JANE DOE 1-5

56. Plaintiffs incorporate by reference all preceding paragraphs as if the
same were set forth fully at length herein.

57. Atall relevant times, Defendants John/Jane Doe were employed as
police officers by the Defendant City.

58. Defendant John/Jane Doe’s acts or omissions were undertaken
willfully, deliberately, and/or with deliberate indifference, and with reckless
disregard to the safety of the Plaintiffs’ rights to bodily integrity in violation of
both the United States Constitution and the Civil Rights Act.

59. The above acts and/or omissions of Defendant John/Jane Doe’s
include the following:

a. Failing to investigate complaints of sexual misconduct that were
alleged against Defendant McDonald;
b. Failing to notify superior officers and/or detectives in an effort to have

Defendant McDonald’s alleged sexual misconduct properly

investigated;

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c. Allowing Defendant McDonald to have continued access to female
informants, including the Plaintiffs, prior to a thorough investigation
into his alleged sexual misconduct; and,

d. Failing to follow any acceptable police protocol when confronted
with an allegation of sexual misconduct of a co-worker.

60. Asa direct and proximate result of these unlawful and
unconstitutional practices, Plaintiffs suffered severe and permanent injuries.

WHEREFORE, Plaintiffs respectfully request judgment in their favor
pursuant to 42 U.S.C. §1988 with interest, costs, attorney fees, expert fees, punitive
damages except as to the municipality, and other such relief as the Court may

award in an amount in excess of $150,000.

COUNT IV
42 U.S.C. §1983
A. DOE vs. DEFENDANT THOMAS MCDONALD
61. Plaintiff incorporates by reference all preceding paragraphs as if the
same were set forth fully at length herein.
62. Defendant McDonald’s conduct against Plaintiff, A. Doe, constituted

a violation of her right to bodily integrity under the Fourth and Fourteenth

Amendments of the United States Constitution.

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63. Defendant McDonald’s conduct against Plaintiff A. Doe constitutes a
violation of her right to be free from unreasonable search and seizure under the
Fourth and Fourteenth Amendments of the United States Constitution.

64. Defendant McDonald’s conduct therefore was a deprivation, under
color of state law, of rights guaranteed to the Plaintiff under the Fourth and
Fourteenth Amendments to the United States Constitution.

65. Asaresult of Defendant McDonald’s violations of the Plaintiff's
Constitutional rights, Plaintiff A. Doe suffered serious and permanent injuries.

WHEREFORE, Plaintiff A. Doe demands judgment in her favor and against

the Defendant for compensatory damages in excess of $150,000 and punitive
damages in excess of $150,000 plus interest, costs, attorney fees and any such

other relief as this Court may deem justified.

COUNT V |
42 U.S.C. §1983 |
M. DOE vs. DEFENDANT THOMAS MCDONALD
66. Plaintiff incorporates by reference all preceding paragraphs as if the
same were set forth fully at length herein.
67. Defendant McDonald’s conduct against Plaintiff M. Doe constituted a

violation of her right to bodily integrity under the Fourth and Fourteenth

Amendments of the United States Constitution.

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68. Defendant McDonald’s conduct against Plaintiff M. Doe constitutes a
violation of her right to be free from unreasonable search and seizure under the
Fourth and Fourteenth Amendments of the United States Constitution.

69. Defendant McDonald’s conduct therefore was a deprivation, under
color of state law, of rights guaranteed to the Plaintiff under the Fourth and
Fourteenth Amendments to the United States Constitution.

70.  Asaresult of Defendant McDonald’s violations of the Plaintiff's
Constitutional rights, Plaintiff M. Doe suffered serious and permanent injuries.

WHEREFORE, Plaintiff M. Doe demands judgment in her favor and against
the Defendant for compensatory damages in excess of $150,000 and punitive
damages in excess of $150,000 plus interest, costs, attorney fees and any such
other relief as this Court may deem justified.

COMERFORD LAW

/s/ Matthew T. Comerford

 

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